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10   U.S. BANCORP INVESTMENTS INC.
11
                          UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
14
     GREGORY J. ANDREWS, an individual,                        8:22-cv-00117
                                                      Case No. ____________________
15
                 Plaintiff,                           (Orange County Superior Court
16                                                    Case No. 30-2021-01236706-CU-OE-
           vs.                                        NJC)
17
     U.S. BANK NATIONAL ASSOC., a                     DEFENDANTS U.S. BANK
18   Delaware Corporation, U.S. BANCORP               NATIONAL ASSOCIATION AND
     Investments, Inc., a Delaware Corporation,       U.S. BANCORP INVESTMENTS
19   and DOES 1 through 10, Inclusive,                INC.’S NOTICE OF REMOVAL
                                                      OF CIVIL ACTION TO FEDERAL
20                                                    COURT
                 Defendants.
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                    DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO FEDERAL COURT
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1           TO PLAINTIFF AND HIS ATTORNEYS OF RECORD AND TO THE
2    CLERK OF THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
3    DISTRICT OF CALIFORNIA:
4           PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. § 1332, Defendants U.S.
5    Bank National Association and U.S. Bancorp Investments Inc. (collectively,
6    “Defendants”) hereby remove the above-captioned matter from the Superior Court of
7    the State of California in and for the County of Orange, to this Court. In support of
8    their request, Defendants state as follows:
9    I.     INTRODUCTION
10          1.    This case is hereby removed from state court to federal court pursuant to
11   28 U.S.C. § 1332 because (1) complete diversity of citizenship exists between the
12   parties, (2) the claims of Plaintiff Gregory J. Andrews (“Plaintiff”) exceed $75,000
13   exclusive of interest and costs, and (3) this Court is in the judicial district and division
14   embracing the place where the state court action was initiated and is pending.
15   Therefore, this Court has original jurisdiction pursuant to 28 U.S.C. Section 1332(a).
16   II.    VENUE
17          2.    The action was filed in Superior Court for the State of California, County
18   of Orange. Venue therefore properly lies in the United States District Court for the
19   Central District of California pursuant to 28 U.S.C. Sections 84(c), 1391(a), and
20   1441(a).
21   III.   THE STATE COURT ACTION IN THIS CASE
22          3.    On December 15, 2021, Plaintiff filed a Complaint in the Superior Court
23   of the State of California, for the County of Orange – North Justice Center, entitled
24   Andrews v. U.S. Bank National Assoc., et al., Case No. 30-2021-01236706-CU-OE-
25   NJC. The Complaint was served on Defendants on or about December 27, 2021. A
26   true and correct copy of the Summons and Complaint is attached hereto as Exhibit
27   “A.”
28          4.    The Complaint alleges claims for: (1) disability discrimination;
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1    (2) failure to provide reasonable accommodations; (3) failure to engage in the
2    interactive process; (4) wrongful termination in violation of public policy; (5)
3    violation of California Business and Professions Code § 17200; and (6) violation of
4    California Labor Code § 1198.5.
5          5.     On January 21, 2022, Defendant U.S. Bank National Association timely
6    filed an Answer to Plaintiff’s Complaint in state court, a copy of which is attached
7    hereto as Exhibit “B.” On January 21, 2022, Defendant U.S. Bancorp Investments
8    Inc. also timely filed an Answer to Plaintiff’s Complaint in state court, a copy of
9    which is attached hereto as Exhibit “C.”
10   IV.   JOINDER
11         6.     Defendants are not aware of any other defendant having been served with
12   a copy of Plaintiff’s Complaint.
13   V.    BASIS FOR FEDERAL JURISDICTION UNDER 28 U.S.C. § 1332
14         7.     The Court has original jurisdiction over this action because it is an action
15   between citizens of different states involving an amount in controversy that exceeds
16   $75,000, exclusive of interests and costs. 28 U.S.C. § 1332(a); 28 U.S.C. § 1441(a).
17         A.     Plaintiff is a Citizen of California.
18         8.     To establish citizenship for diversity purposes, a natural person must be
19   both: (a) a citizen of the United States, and (b) a domiciliary of one particular state.
20   See Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). “A
21   person’s domicile is [his] permanent home, where [he] resides with the intention to
22   remain or to which [he] intends to return.” Kanter v. Warner-Lambert Co., 265 F.3d
23   853, 857 (9th Cir. 2001). A party’s residence may serve as prima facie evidence of
24   that party’s domicile. State Farm Mut. Auto. Ins. v. Dyer, 19 F.3d 514, 520 (10th Cir.
25   1994). Here, Plaintiff alleges that has been a California resident at all times relevant
26   to this action. (Complaint ¶ 5.) Plaintiff was employed by and performed his work
27   for U.S. Bancorp Investments Inc. in the State of California for approximately 1 year
28   and 5 months. (Complaint ¶¶ 5, 24.) Further, based on information that Plaintiff
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1    submitted to Defendants throughout the course of his employment, Plaintiff
2    consistently listed a home address located in California as his current address, which
3    demonstrates his “intention to remain” in California and establishes domicile in
4    California. See Wilson v. CitiMortgage, No. 5:13-CV-02294-ODW SP, 2013 WL
5    6871822, at *2 (C.D. Cal. Dec. 17, 2013) (noting that other objective facts, including
6    plaintiff’s place of employment, may further establish a plaintiff’s citizenship for
7    purposes of removal). Plaintiff is therefore a citizen, domiciliary, and resident of the
8    State of California.
9           B.     Defendants are not Citizens of California.
10          9.     Defendant U.S. Bank National Association was, at the time of the filing
11   of this action, and still is, a citizen of a state other than California. U.S. Bank National
12   Association was and is a national banking association with its main office in
13   Cincinnati, Ohio. Accordingly, U.S. Bank National Association was and is a citizen
14   of Ohio. See 28 U.S.C. § 1348 (“All national banking associations shall, for purposes
15   of all other actions by or against them, be deemed citizens of the States in which they
16   are respectively located”); Wachovia Bank v. Schmidt, 546 U.S. 303, 307 (2006)
17   (holding that a national bank, for purposes of 28 U.S.C. § 1348, “is a citizen of the
18   state in which its main office, as set forth in its articles of association, is located”).
19          10.    Defendant U.S. Bancorp Investments Inc. was, at the time of the filing of
20   this action, and still is, a citizen of a state other than California. As alleged, in part, in
21   Plaintiff’s Complaint, Defendant U.S. Bancorp Investments Inc. is a citizen of the
22   states of Delaware and Minnesota. (Complaint ¶ 7.) A corporation is deemed to be a
23   citizen of the state in which it was incorporated and of the state where it has its
24   principal place of business. 28 U.S.C. § 1332(c). Under the “nerve center” test, a
25   corporation’s principal place of business is “the place where a corporation’s officers
26   direct, control, and coordinate the corporation’s activities.” Hertz Corp. v. Friend, et
27   al., 599 U.S. 77, 80-81, 91-93 (2010). U.S. Bancorp Investments Inc. was and is a
28   citizen of Delaware (its state of incorporation) and Minnesota (its headquarters). See
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1    28 U.S.C. § 1332(c)(1) (“a corporation shall be deemed to be a citizen of every State
2    foreign state by which it has been incorporated and of the State or foreign state where
3    it has its principal place of business . . . .”).
4           10.    It appears from the caption of the Complaint that only U.S. Bank
5    National Association and U.S. Bancorp Investments Inc. are defendants in this matter.
6    The caption also lists “DOES 1 through 10, Inclusive” as defendants. There are no
7    “Doe Defendants” in federal district court. For purposes of removal “the citizenship
8    of defendants sued under fictitious names shall be disregarded.” 28 USC § 1441(b)(1)
9    (emphasis added). Codefendants not served need not join in the removal for removal
10   to be proper. Destino v. Reiswig, 630 F.3d 952, 955-57 (9th Cir. 2011).
11          11.    Complete diversity of citizenship thus exists in accordance with 28
12   U.S.C. § 1332(a)(1) because Plaintiff has been a California citizen at all relevant
13   times, Defendants U.S. Bank National Association and U.S. Bancorp Investments Inc.
14   have been a citizen of a state other than California at all relevant times, and no other
15   defendant is named.
16          A.     The Amount in Controversy Exceeds $75,000
17          12.    Plaintiff does not specifically allege an amount in damages in the
18   Complaint; nor does he allege that the amount in controversy is less than $75,000.
19   Where a complaint does not state a total amount in controversy, Defendants need only
20   show by a preponderance of the evidence that the amount in controversy requirement
21   has been met. Caus v. Miles, Inc., 980 F.2d 564, 566-67 (9th Cir. 1992); McNutt v.
22   Gen. Motors Acceptance Corp., 298 U.S. 178, 179 (1936). As the Ninth Circuit has
23   explained, “[t]he amount in controversy is simply an estimate of the total amount in
24   dispute.” Lewis v. Verizon Comm., Inc., 627 F.3d 395, 400 (9th Cir. 2010).
25          13.    The Complaint seeks various forms of relief, including past and future
26   economic and non-economic damages, penalties to the greatest extent allowed by the
27   law, pre-judgment and post-judgment interest, costs of suit and attorney’s fees,
28   injunctive relief, restitution and disgorgement, front pay in lieu of reinstatement,
                                                      4
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1    declaratory relief, and punitive damages. (See Complaint; Prayer for Relief.) Where,
2    as here, the complaint does not specify an amount of damages sought, the defendant
3    may prove, by a preponderance of the evidence, that the amount in controversy
4    exceeds the jurisdictional requirement. Sanchez v. Monumental Life Ins. Co., 102
5    F.3d 398, 403 (9th Cir. 1996). A defendant can meet its burden by offering facts
6    supporting that the amount in controversy exceeds the jurisdictional minimum or
7    producing evidence of jury verdicts for damages awarded in cases with analogous
8    facts. See Gaus v. Miles, Inc., 980 F.2d 564, 564 (9th Cir. 1992); Kroske v. US Bank
9    Corp., 432 F.3d 976, 980 (9th Cir. 2005); Vasquez v. Arvato Digital Servs., No. CV
10   11-02836, 2011 WL 2560261 at *3 (C.D. Cal. June 27, 2011); Simmons v. PCR Tech.,
11   209 F. Supp. 2d 1029, 1033-34 (N.D. Cal. 2002).
12         14.    To determine the amount in dispute, the Court must consider the
13   aggregate of general, special, and punitive damages in addition to attorneys’ fees.
14   Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (statutory
15   attorneys’ fees to be included in amount in controversy, regardless of whether such an
16   award is discretionary or mandatory); Davenport v. Mut. Benefit Health & Accident
17   Ass’n, 325 F.2d 785, 787 (9th Cir. 1963) (punitive damages must be taken into
18   account where recoverable under state law); Conrad Assoc.’s v. Hartford Accident &
19   Ind. Co., 994 F. Supp. 1196, 1198 (N.D. Cal. 1998) (the amount in controversy
20   includes claims for general and special damages).
21         15.    Lost Earnings – Alleged Commission Pay. Plaintiff seeks lost earnings
22   and commissions and states that had he not been terminated, he reasonably expected
23   to receive “over $650,000 in commissions, with additional lucrative deals (and
24   sizeable commissions) in his personal deal pipeline.” (See Complaint ¶¶ 2, 51-53;
25   Prayer for Relief [emphasis added].) This amount of allegedly lost commissions alone
26   exceeds the $75,000 jurisdictional minimum, excluding interests and costs.
27         16.    Lost Earnings – Back Pay. Lost earnings, including back pay, may be
28   considered when calculating the amount in controversy. See Lamke v. Sunstate Equip.
                                                    5
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1    Co., LLC, 319 F. Supp. 2d 1029, 1031, 1033 (N.D. Cal. 2004) (taking plaintiff’s
2    potential back pay into account for determining the amount in controversy). In a
3    discrimination case such as this one, if a plaintiff prevails back pay is awarded from
4    the date of the retaliatory act through the date of final judgment. Lloyd v. Conseco
5    Fin. Corp., No. CV 00-10452 MMM (RNBx), 2001 WL 36097624, at *7 (C.D. Cal.
6    Oct. 19, 2001). Plaintiff’s Complaint alleges that his employment with Defendant
7    U.S. Bank National Association was terminated on December 16, 2019. (Complaint
8    ¶ 49.) When his employment with Defendant U.S. Bank National Association
9    terminated, Plaintiff’s annual salary was $175,000. Using this annual salary to
10   determine back pay from December 2019 to the date of removal, the amount in
11   controversy for Plaintiff’s potential back pay damages alone are approximately
12   $ 364,583.33.1 Plaintiff’s alleged lost income will continue to accrue until the date of
13   judgment (if any). (See, e.g., Complaint ¶¶ 68, 73, 78, 83.)
14           17.      Therefore, Plaintiff’s claimed lost earnings alone exceed the
15   jurisdictional minimum of $75,000.
16           18.      Other Damages Claimed in Complaint: Plaintiff also claims various
17   other types of damages in his Complaint including, but not limited to: mental pain and
18   suffering (Complaint ¶¶ 68, 73, 78, 83); punitive damages due to Defendants’ alleged
19   malice, oppression, and/or fraud (Complaint ¶¶ 69, 74, 79, 84; Prayer for Relief);
20   attorneys’ fees and costs (Prayer for Relief); and pre-judgment interest (Prayer for
21   Relief). These are all properly considered in the amount in controversy and
22   demonstrate that Plaintiff is seeking damages in excess of the jurisdictional minimum.
23   Accordingly, Plaintiff’s claims for lost wages (including commissions), mental pain
24   and suffering, punitive damages, and statutory attorneys’ fees establish by a
25   preponderance of the evidence that the amount in controversy exceeds the
26   jurisdictional minimum of $75,000 set forth in 28 U.S.C. § 1332(a), even without
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      This is calculated as: $ 175,000 salary divided by 12, then multiplied by 25 months (the length of time between
28   Plaintiff’s termination in December 2019 to the day of this removal).

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1    taking into account a potential front pay award (for loss of future income) or other
2    amounts claimed by Plaintiff. (Complaint Prayer for Relief); See Melendez v. HMS
3    Host Family Restaurants, Inc., No. CV 11-3842 ODW (CWx), 2011 WL 3760058, at
4    *3 (C.D. Cal. Aug. 25, 2011) (front pay is properly considered when determining the
5    amount in controversy).
6    VI.   COMPLIANCE WITH STATUTORY REQUIREMENTS
7          19.    Pursuant to 28 U.S.C. § 1446(a), Defendants attach hereto a true and
8    correct copy of the Summons and Complaint as Exhibit “A.” A true and correct copy
9    of Defendant U.S. Bank National Association’s Answer to Plaintiff’s Complaint is
10   attached hereto as Exhibit “B.” A true and correct copy of Defendant U.S. Bancorp
11   Investments Inc.’s Answer to Plaintiff’s Complaint is attached hereto as Exhibit “C.”
12   A true and correct copy of the Civil Case Cover Sheet as Exhibit “D.” These are the
13   only process, pleadings, or orders in the State Court’s file that have been served on
14   Defendants up to the date of filing this Notice of Removal.
15         20.    In accordance with 28 U.S.C. § 1446(b), this Notice is timely filed with
16   this Court. Pursuant to 28 U.S.C. § 1446(b), “[t]he notice of removal of a civil action
17   or proceeding shall be filed within 30 days after the receipt by the defendant, through
18   service or otherwise, of a copy of the initial pleading setting forth the claim for relief
19   upon which such action or proceeding is based . . . .” Defendants were served with
20   Plaintiff’s Complaint on December 27, 2021. This Notice of Removal was filed 28
21   days later on January 24, 2022. Accordingly, this Notice is timely.
22         21.    As required by 28 U.S.C. § 1446(d), Defendants will provide written
23   notice of the filing of this Notice of Removal to Plaintiff’s attorneys of record and will
24   promptly file a copy of this Notice of Removal with the Clerk for the Superior Court
25   of the State of California in and for the County of Orange.
26         22.    WHEREFORE, Defendants respectfully request that these proceedings,
27   entitled Andrews v. U.S. Bank National Association, et al., Case No. 30-2021-
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1    01236706-CU-OE-NJC, currently pending in the Superior Court of the State of
2    California, for the County of Orange, be removed to this Court.
3
4
5    Dated: January 24, 2022                  WINSTON & STRAWN LLP
6
7                                             By: /s/ Emilie C. Woodhead
                                                    Joan B. Tucker Fife
8                                                   Emilie C. Woodhead
                                                    Attorneys for Defendants
9                                                   U.S. BANK NATIONAL ASSOCIATION and
                                                    U.S. BANCORP INVESTMENTS INC.
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